      Case 2:19-cv-01070-CLM-JHE Document 35 Filed 09/21/20 Page 1 of 2                   FILED
                                                                                 2020 Sep-21 PM 01:57
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

 ANTHONY KEITH HINTON,                     )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )   Case No.: 2:19-cv-01070-CLM-JHE
                                           )
 ROBERT HEBB, et al.,                      )
                                           )
       Defendants.                         )

                           MEMORANDUM OPINION

      The magistrate judge filed a report on August 19, 2020, recommending the

defendants’ special report be treated as a motion for summary judgment and further

recommending that the motion be granted. (Doc. 34). Although the parties were

advised of their right to file specific written objections within fourteen days, the

court has received no objections.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the magistrate judge’s report is

hereby ADOPTED and the recommendation is ACCEPTED. Accordingly, the

court ORDERS that the defendants’ motion for summary judgment is GRANTED,

the court finding no genuine issues of material fact exist.
Case 2:19-cv-01070-CLM-JHE Document 35 Filed 09/21/20 Page 2 of 2




DONE and ORDERED this September 21, 2020.



                           _________________________________
                           COREY L. MAZE
                           UNITED STATES DISTRICT JUDGE




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